       Case 1:21-cr-00623-CRC Document 111-1 Filed 03/06/23 Page 1 of 1


From:             KATIE STRIEGEL
To:               Arco, Jessica (CRT)
Subject:          [EXTERNAL] Case 1:21-cr-00623-CRC, United States of America v. Michael Eckerman
Date:             Friday, March 3, 2023 10:15:12 AM


Dear Ms. Arco,

I have been following this case because Michael Eckerman’s wife, Sarah Eckerman, is my niece (my
sister’s daughter). Having following the case and downloading the filings throughout the process, I
see the Sentencing Memorandum filed yesterday by Mr. Eckerman’s attorneys.

Although I had an extremely close relationship with Sarah all of her life, that relationship ended
when I found out that Michael had been indicted by the grand jury and arrested in September of
2021, and that Sarah was fully supporting him even after his arrest. The relationship I had with that
part of my family had to end because of their extreme support of Donald Trump and their new
obsession with guns. I can’t help but notice that my sister and Sarah’s mother,                  , did
not provide a letter of support for Michael. I have no doubt as to why. We, too, have known
Michael since Sarah started dating him at 15 years old. He was not then and is not now (or as of
2021) the stellar person that his supporters’ letters make him out to be in the Sentencing
Memorandum response he has filed. He is a verbally abusive father and I would argue that Sarah
shows signs of Stockholm Syndrome in her unfailing support of Michael, no matter how awfully he
has treated her and their children.

To get to my point, I wish someone had contacted me to write a letter to the judge on behalf of the
Prosecution. Make no mistake, a few years away from Michael Eckerman may just save his wife and
children. She would not suffer financially because my sister and her husband have more than
enough room and money to support her and their grandchildren and I have absolutely no doubt they
would do so. Michael has never shown an ounce of remorse for any of his horrible actions toward
Sarah over the years and the verbal abuse he hurls at his sons and I refuse to believe he is truly
remorseful now for his actions of January 6, 2021.

I only wish that I had been given the opportunity to share my personal experience with Michael
Eckerman over the last 20 years. His true personality should be shared with the judge in deciding
Michael’s sentencing.

Thank you,

Kathyrn (Katie) Striegel
